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Leave to file GRANTED

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United States District Judge

IN THE UNITED STATES DISTRICT COURT 4-29-2020
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
V.

MICHAEL T. FLYNN,

Crim. No. 1:17-cr-00232 (EGS)
Defendant.

 

 

UNOPPOSED MOTION OF THE NATIONAL ASSOCIATION OF CRIMINAL
DEFENSE LAWYERS FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
SUPPORT OF DEFENDANT MICHAEL T. FLYNN

Pursuant to D.C. District Court Rule 7(0), this Court’s Minute Orders dated
May 12, 2020 and May 19, 2020, the National Association of Criminal Defense
Lawyers respectfully moves this Court for leave to file an amicus curiae brief in
support of the Defendant Michael T. Flynn.

The National Association of Criminal Defense Lawyers (““NACDL’) is a
nonprofit voluntary professional bar association that works on behalf of criminal
defense attorneys to ensure justice and due process for those accused of crime or
misconduct. NACDL was founded in 1958. It has a nationwide membership of many
thousands of direct members, and up to 40,000 with affiliates. NACDL’s members
include private criminal defense lawyers, public defenders, military defense counsel,
law professors, and judges. NACDL is the only nationwide professional bar
association for public defenders and private criminal defense lawyers. NACDL is
dedicated to advancing the proper, efficient, and just administration of justice.
NACDL files numerous amicus briefs each year in the U.S. Supreme Court and other

_ federal and state courts, seeking to provide amicus assistance in cases that present
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issues of broad importance to criminal defendants, criminal defense lawyers, and the
criminal justice system as a whole. The question presented here is critically
important to NACDL’s members.

NACDL seeks leave to file in order to provide the Court with the broad
perspective of an organization whose members deal with guilty pleas and their
aftermath on a daily basis. Certainly the present case before the Court is a highly
unusual one, as the Court’s May 138, 2020 (Dkt. 205) Order attests. NACDL’s
perspective, however, hopefully will assist the Court in understanding how a ruling
in this case might impact more common cases. As the prepared brief attests, NACDL
and its partners have rigorously examined the plea bargaining system in the United
States and proposed significant reforms. NACDL, for example, prepared a report on
the “Trial Penalty” in July 2018 that featured a Forward by this Court’s appointed
amicus, Judge John Gleeson (Ret.). NACDL is pleased and honored to offer to be of
assistance to the Court in this important matter.

For the foregoing reasons, NACDL respectfully requests leave to file the
proposed amicus brief, attached as an exhibit to this motion. A Proposed Order is also
attached.

Counsel for the United States of America has indicated that the United States
will take no position on any of the motions for leave to file by any amici. Counsel for
Defendant Michael T. Flynn has consented to this motion and to the filing of the

proposed amicus brief.
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Dated: June 9, 2020

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Respectfully submitted,

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing will be served this 9th day of
June, 2020, electronically through the Court's CM/ECF system on all registered

counsel.

/s/ Jeffrey T. Green
Jeffrey T. Green
